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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 WEST BEND MUTUAL INSURANCE COMPANY               )
                                                  )
                                      Plaintiffs, )
      v.                                          ) Case No: 1:24-CV-00315
                                                  )
 CORRECTIONAL TECHNOLOGIES, INC., d/b/a           )
 CORTECH USA, VDL INDUSTRIES, LLC, d/b/a          )
 AMERICAN SHAMROCK, and NORIX GROUP, INC.,        )
                                                  )
                                    Defendants. )
                                          ORDER


      This matter coming forth for presentment of Plaintiff’s Motion to Revise the Court’s
Minute Entry of March 14, 2024 (Doc. 13), due notice given, and the court advised; IT IS
HEREBY ORDERED that:

      1.     The Motion is GRANTED and Doc. 13 is revised as follows:

             a.     MINUTE entry before the Honorable Sharon Johnson Coleman: Status
                    hearing held on 3/14/2024. Counsel for plaintiff reported that the parties
                    have reached a stipulation this morning and counsel will file a notice of
                    voluntary dismissal after court. Pursuant to Federal Rule of Civil Procedure
                    4l(a)(l)(A)(i), and the agreed stipulation between the parties, this case is
                    dismissed without prejudice, however the Court will not retain jurisdiction.
                    Plaintiff is not barred from filing suit for declaratory judgment under a new
                    case number if necessitated by a future tender made to it by its insured. Civil
                    case terminated.



                                           ENTER:


DATED: April 10, 2024
                                           Sharon Johnson Coleman
                                           United States District Judge
